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Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                              §
    In re:
                                                              §   Chapter 11
                                                              §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,1                           Case No. 19-34054-sgj11
                                                              §
                                                              §
                                  Debtor.
                                                              §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,                        §
                                                              §
                                  Plaintiff,                  §   Adversary Proceeding No.
                                                              §
    vs.                                                       §   21-03003
                                                              §
    JAMES DONDERO, NANCY DONDERO, AND                         §
    THE DUGABOY INVESTMENT TRUST,                             §
                                                              §
                                  Defendants.


1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.

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                    PLAINTIFF’S NOTICE OF RULE 30(B)(6) DEPOSITION
                         TO THE DUGABOY INVESTMENT TRUST

         PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules of Civil

Procedure, made applicable herein pursuant to Rules 7030 and 9014 of the Federal Rules of

Bankruptcy Procedure, Highland Capital Management, L.P., the plaintiff in the above-referenced

adversary proceeding in the above-captioned chapter 11 case, shall take the deposition of The

Dugaboy Investment Trust (“Dugaboy”) by the person(s) most qualified to testify on Dugaboy’s

behalf with respect to the topics described in Exhibit A attached hereto on October 18, 2021,

commencing at 9:30 a.m. Central Time or at such other day and time as the Plaintiff may agree

in writing. The deposition will be taken under oath before a notary public or other person

authorized by law to administer oaths and will be visually recorded by video or otherwise.

         The deposition will be taken remotely via an online platform due to the coronavirus

pandemic such that no one will need to be in the same location as anyone else in order to

participate in the deposition and by use of Interactive Realtime. Parties who wish to participate




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in the deposition should contact John A. Morris, Pachulski Stang Ziehl & Jones LLP, at

jmorris@pszjlaw.com no fewer than 72 hours before the start of the deposition for more

information regarding participating in this deposition remotely.



 Dated: October 4, 2021.                  PACHULSKI STANG ZIEHL & JONES LLP

                                          /s/ John A. Morris
                                          Jeffrey N. Pomerantz (CA Bar No.143717)
                                          Ira D. Kharasch (CA Bar No. 109084)
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                                              EXHIBIT A

                                             DEFINITIONS

                 1.         “Adversary Proceeding” refers to Adversary Proceeding No. 21-03003

pending in the above-referenced bankruptcy case.

                 2.         “Alleged Agreement” refers to the alleged oral agreement between James

Dondero and “Nancy Dondero, as representative for a majority of the Class A shareholders of

Plaintiff,” described in, among other places, paragraph 82 of the Answer.

                 3.         “Answer” means Defendant James Dondero’s Answer to Amended

Complaint lodged in the Adversary Proceeding at Docket No. 83.

                 4.         “Communications” means the transmittal of information (in the form of

facts, ideas, inquiries, or otherwise) and includes all oral and written communications of any

nature, type or kind including, but not limited to, any ESI (and any attachments thereto),

Documents, telephone conversations, text messages, discussions, meetings, facsimiles, e-mails,

pagers, memoranda, and any other medium through which any information is conveyed or

transmitted.

                 5.         “Complaint” means the Amended Complaint for (I) Breach of Contract, (II)

Turnover of Property, (III) Fraudulent Transfer, and (IV) Breach of Fiduciary Duty, lodged in

the Adversary Proceeding at Docket No. 79.

                 6.         “Concerning” means and includes relating to, constituting, defining,

evidencing, mentioning, containing, describing, discussing, embodying, reflecting, edifying,

analyzing, stating, referring to, dealing with, or in any way pertaining to the subject matter.

                 7.         “Discovery Requests” means Plaintiff’s Requests for Admission,

Interrogatories, and Requests for Production Directed to Dugaboy Investment Trust served on

Your counsel by e-mail on September 7, 2021.



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                 8.         “Document” means and includes all written, recorded, transcribed or

graphic matter of every nature, type and kind, however and by whoever produced, reproduced,

disseminated or made. This includes, but is not limited to, Communications, ESI, “writings” as

defined by Rule 1001 of the Federal Rules of Evidence, copies or drafts, and any tangible or

intangible thing or item that contains any information. Any Document that contains any comment,

notation, addition, insertion or marking of any type or kind which is not part of another Document,

is to be considered a separate Document.

                 9.         “Highland” means Highland Capital Management, L.P. and any

predecessor or successor.

                 10.        “LP Agreement” means that certain Fourth Amended and Restated

Agreement of Limited Partnership of Highland Capital Management, L.P. entered into on

December 24, 2015.

                 11.        “You” or “Your” means The Dugaboy Investment Trust and anyone

authorized to act on its behalf.

                                             Rule 30(b)6) Topics

Topic No. 1:

         The Alleged Agreement, including but not limited to all facts and circumstances,

Communications, and Documents Concerning the Alleged Agreement.

Topic No. 2:

         Your authority to enter into the Alleged Agreement.

Topic No. 3:

        Ownership, beneficial ownership, and control of The Dugaboy Investment Trust.

Topic No. 4:




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        All agreements that You have ever entered into “as a representative for a majority of the

Class A shareholders” of Highland, including any agreements entered into pursuant to Section

3.10 of the LP Agreement.

Topic No. 5:

        All agreements that You have ever entered into as a representative for a majority of the

Class A limited partners of Highland, including any agreements entered into pursuant to Section

3.10 of the LP Agreement.

Topic No. 6:

        All agreements that You have ever entered into on behalf of Highland or that You believe

bindd Highland.

Topic No. 7:

        All agreements between You and Highland.

Topic No. 8:

        All agreements between You and any entity you know or have reason to believe is

directly or indirectly owned and/or controlled by James Dondero and/or Scott Ellington,

including but not limited to indemnification agreements.

Topic No. 9:

         Your responses to the Discovery Requests.




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